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                                                                                   United States District Court
                                                                                     Southern District of Texas
                              UNITED STATES DISTRICT COURT
                                                                                          ENTERED
                               SOUTHERN DISTRICT OF TEXAS
                                                                                      January 10, 2020
                                 CORPUS CHRISTI DIVISION
                                                                                     David J. Bradley, Clerk

JANET DENHAM,                                     §
                                                  §
        Plaintiff,                                §
VS.                                               § CIVIL ACTION NO. 2:18-CV-246
                                                  §
BARK RIVER TRANSIT, INC., et al,                  §
                                                  §
        Defendants.                               §

                            ORDER GRANTING DISMISSAL WITH
                                     PREJUDICE

      BE IT REMEMBERED that on the 10th day of January, 2020, came the Plaintiff, JANET

DENHAM, and Defendants, BARK RIVER TRANSIT, INC. AND IRA WADE HUDSON, by and

through their counsel of record, on their Joint Motion to Dismiss in the above-entitled and numbered

cause. The Court having considered the motion finds that all disputes and differences between

Plaintiff, JANET DENHAM, and Defendants, BARK RIVER TRANSIT, INC. AND IRA WADE

HUDSON have been fully compromised and settled; that this motion has been made prior to entry of

any judgment hereon; and that all issues and claims between the parties have been fully

compromised and settled. Therefore, pursuant to the request of Plaintiff, JANET DENHAM, and

Defendants, BARK RIVER TRANSIT, INC. AND IRA WADE HUDSON,

          IT IS ORDERED, ADJUDGED AND DECREED that no judgment be entered in this

   cause and that the same be dismissed with prejudice as to the rights of Plaintiff, JANET

   DENHAM, to refile same or enter any judgment against Defendants, BARK RIVER TRANSIT,

   INC. AND IRA WADE HUDSON, and further dismissed as to any and all claims and causes of

   action set forth in the pleadings of this cause or arising therefrom against Defendants, BARK

   RIVER TRANSIT, INC. AND IRA WADE HUDSON.
       Case2:18-cv-00246
      Case  2:18-cv-00246 Document
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        Court costs are to be taxed against the party incurring same.

        ORDERED this 10th day of January, 2020.



                                             ___________________________________
                                             Julie K. Hampton
                                             United States Magistrate Judge




2/2
